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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION

UNITED STATES OF AMERICA                       §
                                               §
V.                                             §                     5:00-CR-9(5)
                                               §
JODY PAXTON                                    §

                                  MEMORANDUM ORDER

        The above-entitled and numbered criminal action was heretofore referred to United States

Magistrate Judge Caroline M. Craven pursuant to 28 U.S.C. § 636. The Report of the Magistrate

Judge which contains her proposed findings of fact and recommendations for the disposition of such

action has been presented for consideration.         No objections were filed to the Report and

Recommendation. The Court is of the opinion that the findings and conclusions of the Magistrate

Judge are correct. Therefore, the Court hereby adopts the Report of the United States Magistrate

Judge as the findings and conclusions of this Court. Accordingly, it is hereby

        ORDERED that Defendant’s plea of true to the allegations as set forth in the Government’s

petition is ACCEPTED. It is further

        ORDERED that Defendant’s supervised release is REVOKED. Based upon Defendant’s

plea of true to the allegations, the Court finds Defendant violated his conditions of supervised

release. It is further

        ORDERED that Defendant is committed to the custody of the Bureau of Prisons to be

imprisoned for a term of fifteen (15) months to run consecutive to the sentences received in Bowie

County Court at Law Cause Nos. 04M2220-CCL and 05M0543-CCL, with no supervised release

to follow the term of imprisonment. It is further
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       REQUESTED that the Bureau of Prisons designate FCI Texarkana for service of sentence;

that the defendant obtain his GED or vocational training while incarcerated; and that the defendant

be provided drug and alcohol abuse counseling while incarcerated.

        SIGNED this 23rd day of October, 2006.




                                                     ____________________________________
                                                     DAVID FOLSOM
                                                     UNITED STATES DISTRICT JUDGE




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